Case 2:23-cv-12978-GAD-DRG ECF No. 1, PageID.1 Filed 11/22/23 Page 1 of 22


MFDhSe (Rev VI6) Coplaint for a(ivil Case

                          IN THEUNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OFMICHIGAN


 DERAK TERRALLCARRINGTON
                                                                      Case No.
                                                                      (iohe filled in hy the (Clerk 's Office)
(Hrile the full name of cachplaintifl who is filing this complaint.
If the names ofall the plaintiffs cannot fit in the space above,
please write "see attached" in the space and ttach an odditional      Jury Trial:          Yes        No
     re with the full list of names.)                                                 (check oe)
                                                                      Case: 2:23−cv−12978
V.
                                                                      Assigned To : Drain, Gershwin A.
City of Detroit, Buildings, Safety Engineering                        Referral Judge: Grand, David R.
and Environment Department, Dangerous                                 Assign. Date : 11/22/2023
Buildings Division,                                                   Description: CMP DERAK
Anthony Abela on behalf of Homrich Wrecking Inc                       CARRINGTON V CITY OF DETROIT ET
 a.k.a. Homrich 4 Detroit                                             AL (SS)
Douglas S. Parker on behalf of the Detroit Land Bank
Non-Profit Association

(Write the fullname of each defendant who is being sued. Ifthe
names ofall the defendants cannot fit in the space above, please
write "see atached in the space and attach an additional page
with the full list of names.)


                                        Complaint for a Civil Case
   Case 2:23-cv-12978-GAD-DRG ECF No. 1, PageID.2 Filed 11/22/23 Page 2 of 22


                                          Civil Case
MIED PoSe I (Rev 5/16) Con1plaint for a

         The Parties toThis Complaint
         A.       The Plaintiff(s)
                                                                                  the complaint. Attach
                  Provide the information below for each plaintiff named in
                  additional pages if needed.
                                                       DERAK TERRALL CARRINGTON
                           Name
                           Street Address              19915 LITCHFIELD
                                                       DETROIT            WAYNE
                           City and County
                                                       MICHIGAN                         48221
                           State and Zip Code
                           Telephone Number            313-408-6629

                            E-mailAddress              YH57DTC@YAHO0.COM

         B.       The Defendant(s)
                                                                                                whether the
                  Provide the information below for each defendant named in the complaint,
                                                                                       or a corporation.
                  defendant is an individual, a government agency, an  organization,
                                                                                              Attach
                  For an individual defendant, include the person's job or title (if known).
                  additional pages if needed.
                  Defendant No. 1
                            Name                       City of Detroit, Buildings, Safety Engineering and
                            Job or Title               Environment Dept, Dangerous Buildings Di
                            (if known)
                            Street Address             2 Woodward Avenue, 4th Floor Suite 418,
                                                       DETROIT           WAYNE
                            City and County
                                                       MICHIGAN                48201
                            State and Zip Code
                            Telephone Number           313-224-2733
                            E-mail Address
                            (if known)

                   Defendant No. 2
                            Name                       HOMRICH WRECKING INC DBA HOMRICH 4

                            Job or Title               DEETROIT
                            (if known)
                            Street Address             3033 Bourke Street
                            City and County            DETROIT                  WAYNE

                            State and Zip Code         MICHIGAN                 48238
                            Telephone Number           734-654-9800
                            E-mail Address
                            (if known)
                                                             2
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                 Defendant No. 3
                          Name                     Detroit Land Bank Community Dev Corporation
                          Job or Title
                          (if known)
                          Street Address           500 GRISWOLD, SUITE 1200
                          City and County          DETROIT          WAYNE
                          State and Zip Code       MICHIGAN         48226
                          Telephone Number         313-974-6889
                          E-mail Address
                           (if known)
                  Defendant No. 4
                           Name
                           Job or Title
                           (if known)
                           Street Address
                           City and County
                           State and Zip Code
                           Telephone Number
                           E-mail Address
                           (if known)


II.      Basis for Jurisdiction

         Federal courts are courts of limited jurisdiction (limited power). Generally,only two types of
         cases can be heard in federal court: cases involving a federal question and cases involving
         diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the Ünited
         States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.
         § 1332,a case in which a citizen of one State sues a citizen of another State or nation and the
         amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
         citizenship case, no defendant may be a citizen of the same State as any plaintiff.

         What is the basis for federal court jurisdiction? (check all that apply)
                         Federal question                            Diversity of citizenship
          Fillout the paragraphs in this section that apply to this case.



                                                        3
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       A.       If the Basis for Jurisdiction Is a Federal Question
                List the specific federal statutes, federal treaties, and/or provisions of the United States
                Constitution that are at issue in this case.
                TITLE 28




       B.       If the Basis for Jurisdiction Is Diversity of Citizenship

                         The Plaintiff(s)
                          a        If the plaintiff is an individual
                                   The plaintiff, (name)
                                   is a citizen of the State of (name)

                         b.        If the plaintiff is a corporation
                                   The plaintiff, (name)
                                   is incorporated under the laws of the State of (name)
                                                                  and has its principal place of business in the
                                   State of (name)
                         (f more than one plaintiff is named in the complaint, attach an additional page
                         providing the same information for each additional plainif)
                2        The Defendant(s)
                                  If the defendant is an individual
                                  The defendant, (name)                                   is a citizen of the
                                  State of (name)                                   Or is a citizen of (oreign
                                  nation)

                         b.       If the defendant is a corporation
                                  The defendant, (rame)                                    is incorporated
                                  under the laws of the State of (name)                                    and
                                  has its principal place of business in the State of (rame)
                                                                  Or is incorporated under the laws of
                                  (foreign nation)                                 and has its principal place
                                  of business in (name)

                        (fmore than one defendant is named in lhe complaint, attach an addlitional
                        page providing the same information for each additional defendant)
                                                           4
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                 3        The Amount in Controversy

                          The amount in controversythe amount the plaintiff claims the defendant owes
                          or the amount at stake is more than $75,000, not counting interest and costs of
                          court, because (explain):
                           THE AMOUNT IN CONTROVERSY IS OVER $200,000.00



IIL,    Statement of Claim

        Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
        as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
        State how each defendant was involved and what each defendant did that caused the plaintiff
        harm or violated the plaintif s rights, including the dates and places of that involvement or
        conduct. If more than one claim is asserted, number each claim and write a short and plain
        Statement of each claim in a separate paragraph. Attach additional pages if needed.
         SEE ATTACHED COMPLAINT
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MI:D IoSe l (Rev S/16) Compluint for aCivil Case

IV.    Relief

       State briefly and preciscly what damages or other relicf the plaintiff asks the court to order. Do
        not make legal arguments. Include any basis for claiming that the wrongs alleged are
        continuing atthe present time. Include the amounts of any actual damages claimedfor the acts
        alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
        the amounts, and the rcasons you claim you are cntitled to actual or punitive moncy damages.
        Therefore, plaintiff request that this court accept jurisdiction of this cause and set it for hearing.
        Enter an injunction preventing the defendant from taking any actions against the asset o until
        this matter has been adjudicated. " Allow Plaintiff time to exhaust his administrative remedies.
        A. Declare that Defendant violated Plaintif's constitutional right to procedural due process by
        attempting demolition without proper notice, opportunity to be heard, impartial decision maker,
        rational basis, or written justification.
        B. Declare that Defendant's conduct constitutes an unconstitutional regulatory taking of
        Plaintiff's Property without just compensation.
        C. Award Plaintiff damages for Defendant's breaches of contract and conduct inducing
        reasonable detrimental reliance.
        D. Award Plaintiff damages for the impairment of his investment value and equity interest in
        the Property resulting from Defendant's actions.
        E. Award Plaintiff compensation for the loss of sales revenue from the cancelled purchase
        agreement due to Defendant's improper demolition plans.
          F.Award Plaintiff damages for the intentio Plaintiff reserves the right to amend the complaint.
V.      Certification and Closing
         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
         knowledge, information, and belief that this complaint: (1) is not being presented for an
         improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
         litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
         modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
         specifically so identified, willlikely have evidentiary support after a reasonable opportunity for
         further  investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.

         A.       For Parties Without an Attorney

                    Iagree to provide the Clerk's Office with any changes to my address where case
                  related papers may be served. Iunderstand that my failure to keep a current address on
                  file with the Clerk's Office may result in the dismissal of my case.
                  Date of signing: November 20                   , 20 23,
                  Signature of Plaintiff
                  Printed Name of Plaintiff         Derak (T. Carrington

                                                          6
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Additional Inforation:




                                                   7
                   Case 2:23-cv-12978-GAD-DRG ECF No. 1, PageID.8 Filed 11/22/23 Page 8 of 22
                                                                           CIVIL COVER SHEET                                                County ln which action arosc: WAYNI
Ihe JS 44 civil cOver shect and the infomalion
providcd by                                      containcd hercin icither replace nor supplement tlhe iling and service of
                   rules of'court. his fonn, approved  by the Judicial Conference of the United                            plcadings or otlher papers as rcqurcd by lavw, cccpt
                                              (SEINSTRUCTIONS ON NANT PIGE OF TIIIS EORNL)States Septennber 197-4, is requircd for the cof the Clerk of Court for the
purposc of initiating the civil doohel sheot.                                                          in
I. (a) PLAINTIFFS
DERAK TERRAL CARRINGTON                                                                                       DEFENDANTS
                                                                                                              City of Detroit, Buildings. Salety Engincering and Environment
                                                                                                              Dangerous Buildings Division, ET AL                            Departnnent.
   (b) County of Residence of Fist Listed PlaintiT
                                                                    WAYNE                                     County ol Residence of Fis Listed IDefendant
                                (lNCET IN U.S. PLAINTIET CASES)                                                                                               WAYNE
                                                                                                                                       (IN U.S PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATIONCASES, USE THE
                                                                                                                            THL TRACT O LAND INVOLVED             LOCATIONF
   (C) Attomeys (Firn Name, AdleN, nd
PRO PER
                                      Teleploe Number)                                                        Altomeys (U/Kwwn)
19915 LITCIIFIELD, DETROIT, MICIlIGAN 48221
313-408-6629

II. BASIS OF
                       JURISDICTION Phcc un N"nOne Bex Onl)                                      II. CITIZENSHIP OF PRINCIPAL PARTIDS (Phae an "K" n One Br
                                                                                                                                                                                                         fir Plnntu
        US. Govemiment                                                                                   (or Diversity Cuses Only)                                            and One Ben for Defendunt)
                                              Peleral Question
           Plainun                                                                                                                    PTE     DEF                                                  TF          DEF
                                                 (U.S Government Not a Party)                       (Cilizen of'his Slate                     D          Incorporated or Princ1pal Place
                                                                                                                                                           of Business In This Susle
D2 US. Govemment                     D4 Diversity
          Delendant                                                                                 Citizen ol Another State          D2     D       2 Incorporated and Princ1pal Place
                                                 (Inicate Cittzenship ofParties in Item III)                                                                of Busness In Another State

                                                                                                    Citizen or Subjcct of a           D3            3 Foreign Nation
                                                                                                      Foreign Country
                                                                                                                                                                                                        D6 D6
   V. NATURE OF SUT PIace an "N"" in
                                     One Bar Only)                                                                                      Click here for: Nalure of Suit Code escriptions.
        CONTRACT                             TORTS                                                    TORFEITUREPENALTY                       BANKRUPTCY                    OTHER STATUTES
   |10 Insurance
                                       PERSONAL INJURY                   PERSONAL INJURY            D625 Drug Related Seizure
   120 Marinc
                                    O310 Aiplane                                                                                            422 Appeal 28 USC 158                375 False Claims Act
                                                                         365 Personal Injury             of Property 21 USC 881             423 Withdrawal
   130 Miller Act                   I315 Aiplane Product                                                                                                                         376 Qui Tam (3| USC
   140 Negotiable Instrument
                                                                             Product Liability      690 oher                                      28 USC 157
                                              Linbility                  367 IHcalth Carc                                                                                              372%a))
   150 Recovery of Ovepayment          320 AssaulL Libel &                                                                                                                      400 Statc Reapportinnment
                                                                             Pharmaceutical                                                 PROPERTY RIGHTS
       & Enforcement of Judgment              Slander                        Personal Injury                                                                                    410Antitrust
  Disi Medicarc Act                 330 Federal Eployers                                                                                    820 Copyrights                       430Panks and Bank1ng
                                                                             Product Liability                                              S30 Patent
   132 Recovery of Defaulted               Liability                    368 Aslestos Personal
                                                                                                                                                                                450 Commerce
       Student Loans                                                                                                                        840 Trademurk                       460 Denortation
                                       340 Marine                             Injury Product
       (Excludes Veterans)             345 arine Product                                                                                                                        470 Racketcer Inluenced and
                                                                              Liability                           LABOR                     SOCIAL SECURIY
   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                                                                                               Corrupt Organ1zations
       of Veleran's Beneits                                                                           D710 Fair Labor Stundards            86I TILA (1395M)                     480 Consumer Credit
                                       350 Motor Vehicle                 370 Other Fraud                    Act                             862 Black Lung (923)                490 Cable Sat TV
   160 Stockholders Suits               35S Motor Vehicle                371 Truth in Lending
   190 Oher Contrnct
                                                                                                    N20 Labor/Munagement                    S63 DIWCDIWW (405(g)              U85U SecuritiesCommod1tis
                                            Product Liability            380 Other Personal                 Relutions                       864 SSID Title XVI
   195 Conract Product Liability        360 Other Personal                   Property Damage           740 Railvay Labor Act                s65 RSI (405(g)
                                                                                                                                                                                       Exchange
   196 Franchise                            Injury                                                                                                                              890 other Slalutory Acuons
                                                                         385 Property Damage         1751 Family and Medical
                                       362 Pasonal Injury -                                                                                                                     891 Agricultural Acts
                                                                             Product Liability            Leave Ac                                                              893 EnvVronmental MatterS
                                           Medical Malpractice                                      D790 Other Labor Liugation
       REAL PROPERTY                                                                                                                                                            s95 Frcdom of' nomation
                                        CIVIL RIGHTS                  PRISONER PETITIONS791 Bmployce Retirement
    210Land Condermnation              440 Other Civil Rights                                                                                FEDERAL TAX SUYTS                         Act
   D220 Foreclosure                                                      Habeas Corpus:                    Income Security Act              S70 Taxes (U.S. Plaintitt          Ds96 Arbiration
                                    N441 Voting                          463 Alien Detainee                                                       or Defendant)                D899 Admin1strative Procedure
   230 Rent Lense & Ejectment         442 Employment                     s10 Motions to Vacate
   240 Torts to Land                  443 Housing/                                                                                          871 RS-Third Party                         ActReview or Appeal of
                                                                             Sentence                                                             26 USC 7609
   245 Tort Product Liability             Accommodations                 530 Genel                                                                                                  Agency Decision
D 290 AIIOther Ral Property            445 Amer. w/Disabilitics                                                                                                                   50Const1tutionality of
                                                                         $35 Dcath Penalty                 IMMIGRATION                                                                 State Statutes
                                          Emplayment                    Other:                        -+62 Naturalization Application
                                       446 Amer. w/Disabilities         540 Mandamus && Other         1465 Other Immigration
                                           Other                        S50 Civil Rights                   Actjons
                                    D448 Education                      $55 Prison Condition
                                                                        S60 Civil Detaince -
                                                                             Conditions of
                                                                             Confinement
  V, ORIGIN Place an x" in One Box Only)
      Original   D2 Removed from                           D3         Remanded from                 Reinstaled or   5 Transfemed Irom
       Proceeding               State Court                                                                                                   D6 Multidistrict                          O8 Multidistrict
                                                                     Appellate Court                Roopencd           Anolher District                Litigation
                                                                                                                      (NJecif)                         Transter
                                                                                                                                                                                           Litigation -
                                                                                                                                                                                                Dircct Filk
                                        Cite the U.S. Civil Statute under which you are liling (Do not cite jurislictional statutes unless
                                                                                                                                           diversity):
VI. CAUSE OF ACTION TITLE 28
                                        Brief description of cause:
                                        Misuse of govemment resources, false claims with intent to steal, violatiion of civil rights,
                                                                                                                                      violation of due process
VII. REQUESTED IN                          CHECK IIF THIS IS A CLASS ACTION               DEMAND S                                   CHECK YES only it denanded in Umplaint:
     COMPLAINT:                                 UNDER RULE 23. F.R.Cv.P.
                                                                                                                                                    JURY IDEMAND:                       YesNo
VII. RELATED CASE(S)
        IF ANY                                (See instructions):
                                                                     JUDGE                                                                  LDOCKET NUMBER
DATE                                                                     sIGNEURE OF AT[ORNE YOF RECORD
November 22, 2023
 rOR OFICE USK ONL.Y
   IECEIT#                      AMOUNT                                     APPLYNG I|P                                        JUIGE                               MAG JUDE
               Case 2:23-cv-12978-GAD-DRG ECF No. 1, PageID.9 Filed 11/22/23 Page 9 of 22
PURSUANT TO LOCAL RULE 83.11
 1.                 Is this a case that has been previously dismissed?                    Yes
                                                                                          No
      If yes,give the following information:
      Court:

      Case No.:

      Judge:


2.                 Other than stated above, are there any pending or previously
                   discontinued or dismissed companion cases in this or any other         Yes
                   court, including state court? (Companion cases are matters in which    No
                   itappears substantially similar evidence will be offered or the same
                   or related parties are present and the cases arise out of the same
                   transaction or occurrence.)

      If yes, give the following infomation:
      Court:

      Case No.:

      Judge:

  Notes:
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                              UNITED STATES FEDERAL COURT
                              EASTERN DISTRICT OF MICHIGAN


Derek Terrall Carrington,                            )
                                                     )
       Plaintiff,                                    )       Case No.:
                                                     )       Judge
vs.                                                  )       Magistrate
                                                     )
City of Detroit, Buildings, Safety Engineering       )
and Environment Department, Dangerous                )
Buildings Division,                                  )       JURY DEMAND
Anthony Abela on behalf of Homrich Wrecking Inc
 a.k.a. Homrich 4 Detroit
Douglas S. Parker on behalf of the Detroit Land Bank
Non-Profit Association                )
        Defendant.                                 )
__________________________________________)


Derek Terrall Carrington
Plaintiff in Pro Per
19915 Litchfield,
Detroit Michigan 48221
313-408-6629
yh57dtc@yahoo.com

                                           COMPLAINT


Pursuant to Rule 15 of the Federal Rules of Civil Procedure Plaintiff, Derak T Carrington

(“Plaintiff”) respectfully files this Complaint for Permanent Injunction, Jurisdiction and federal

question and Other Equitable Relief. Through this Complaint and Claim, Defendants all were

significantly involved in planning and perpetrating the scheme that has victimized the Plaintiff. It is

believed that these Defendants engaged in practices that encourage the continued violation of due

process and more.




       COMES NOW Plaintiff Derek Terrall Carrington (hereinafter, “Plaintiff”), pro se, hereby

files this Complaint against Defendant City of Detroit, Buildings, Safety Engineering and

                                                  1
                                               Complaint
 Case 2:23-cv-12978-GAD-DRG ECF No. 1, PageID.11 Filed 11/22/23 Page 11 of 22


Environment Department, Dangerous Buildings Division (hereinafter, “Defendant”), and alleges as

follows:

                                   NATURE OF THE ACTION
1. This is an action seeking declaratory and injunctive relief as well as damages resulting from

    Defendant's improper and unlawful attempts to demolish Plaintiff's property located at 13810

    Fenkell, Detroit, Michigan ("the Property") without due process.

2. Defendant failed to provide proper notice of alleged outstanding fees and rejected Plaintiff's good

    faith attempts to resolve the disputed fees.

3. Defendant contradicted its own representations that it would cease the demolition after Plaintiff

    completed required applications and paid assessed fees.

4. Defendant has targeted Plaintiff's property in the past through similar arbitrary practices.

5. Defendant's actions have caused Plaintiff substantial irreparable harm, including loss of equity,

    investment value, and sales revenue.

6. Defendant's demolition plans violate Plaintiff's procedural due process rights and constitute an

    illegal taking without just compensation.

                                  JURISDICTION AND VENUE
Jurisdiction and venue are otherwise proper in this court pursuant to Title 28 § 5118

Sub sec (2) (D) (Plaintiff believes there is not a remedy in the STATE court; Title 28

U.S.C. § 1333 to enforce the law and find remedy; Title 28, §1441 Sec (A) and US

constitution 5th and 14 the Under 28 U.S.C. § 1331, a case arising under the United

States Constitution in addition to 28 U.S.C. § l 332, a case in which a citizen of one

State sues a citizen of another State or nation and the amount at stake is more than

$75,000 is a diversity of citizenship case.




                                                   2
                                                Complaint
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This Court has personal jurisdiction over defendants because the claims arise from

the transaction of business, the negotiation of collectively bargained agreements, and

other conduct between the defendants, all of which occurred in this State.

This Court has subject matter jurisdiction pursuant to: 28 USC 1331 because the

claims arise under the laws of the United States; 28 USC 1337(a) because the claims

arise under an Act of Congress regulating commerce; and because the claims concern

the violation of contracts and/or contract negotiations

7.   To the extent the claims allege violations of state law, this Court has supplemental

     jurisdiction over state law claims pursuant to 28 USC 1367, because those claims

     are so related to the claims arising under federal law that they form part of the same

     case or controversy.


                                             PARTIES
8. Plaintiff Derek Terrall Carrington (hereinafter, “Plaintiff”) is residing at an address 19915

     Litchfield, Detroit, Michigan 48221.

9. Defendant City of Detroit, Buildings, Safety Engineering and Environment Department,

     Dangerous Buildings Division (hereinafter, “Defendant” or “City”) has its registered office at

     Coleman A. Young Municipal Center, 2 Woodward Avenue, 4th Floor Suite 418, Detroit

     Michigan 48226

10. Defendant Anthony Abela on behalf of Homrich Wrecking Inc also known as Homrich 4 Detroit

     (hereinafter, Defendant “Homrich”) has its registered office at 3033 Bourke Street, Detroit

     Michigan 48328.

11. Defendant Douglas S. Parker Detroit Land Bank Community Development Corporation

     (hereinafter DLB) has its registered office at 500 Griswold, Suite 1200, Detroit, Michigan 48226.


                                                 3
                                              Complaint
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                                   FACTUAL ALLEGATIONS
12. Plaintiff, Derek Terrell Carrington, is the owner of the commercial building located at 13810

    Fenkell, Detroit, MI ("the Property"). Plaintiff has owned the Property for several years and has

    invested substantial time and resources to maintain and improve the Property.

13. In August 2023, without any prior notice of code violations, Defendant City arbitrarily issued a

    demolition order declaring the Property “blighted.”

14. The Property was not blighted. Plaintiff had actively maintained and monitored the Property. Any

    damage was caused by criminal trespassers which Plaintiff promptly repaired.

15. Upon receiving the demolition notice, Plaintiff immediately contacted Defendant City's

    Dangerous Buildings Division by phone and in writing. Defendant City’s agents instructed

    Plaintiff to complete specific application forms, herein Demolition Clearance Form, along with

    other, and asked to pay assessed fees before the demolition deadline to remove the Property from

    the demolition list.

16. Relying on Defendant City’s representations, Plaintiff promptly completed all application

    paperwork, including but not limited to Demolition Clearance Form and paid all blight fees

    quoted by Defendant City, totaling over $268 on or about July 25, 2023, as for the invoice raised

    against Plaintiff for the Property as “Total Amount Due” on May 26, 2023 for the amount of

    $268. Plaintiff retained receipts and records of these applications and payments, as is attached

    here as exhibits.

17. In October 2023, Defendant City sent another baseless demolition notice for the Property to

    Plaintiff. Plaintiff again contacted Defendant's supervisors, who could not locate Plaintiff's

    previous applications or fee payments.

18. After much effort, Plaintiff convinced Defendant' City’s staff to locate the previous applications

    and payments. However, Defendant City then arbitrarily demanded Plaintiff to complete a new

    application and pay additional unspecified fees before it would halt demolition plans.




                                                 4
                                              Complaint
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19. Plaintiff again promptly completed the second set of application forms and paid all additional

    fees, on October 27, 2023, quoted by the Defendant, totaling $134, in good faith reliance on

    Defendant City ceasing the unjust demolition efforts. Plaintiff retained receipts and records of

    these applications and payments.

20. Without notice, Defendant Homrich installed an illegal fence on the Property in November 2023

    in preparation for demolition, removed one of the doors, and brought demolition equipment on

    site, including a crane.

21. When Plaintiff demanded explanation for the continued demolition plans, Defendant City

    vaguely claimed there were unpaid "back fees" exceeding $8,000.

22. Defendant City was unable or unwilling to provide any documentation or basis for these allegedly

    unpaid "back fees." Plaintiff had never received any prior notice of amounts due.

23. Defendant City misconduct of demanding fees in excess of $8,000 is false, misleading, frivolous,

    and arbitrary demanding, as they demand an invoice as raised by the Defendant City itself was

    already paid by the Plaintiff in its entirety, and therefore Defendant City does not possess any

    further outstanding rights to claim any further demand on the Property.

24. Despite this, Plaintiff immediately offered to pay the claimed fees by installments, as the

    Defendant City was breaking the house and there was no other way to stop Defendant City, but

    the Defendant City refused any payment plans, and rejected Plaintiff’s offer. The Defendant

    claimed the full $8,000 had to be paid immediately to stop demolition, as was again an arbitrary

    demand without any reasonable basis, and all demands were already satisfied in its entirety by

    the Plaintiff.

25. Over the past several months, Plaintiff made significant efforts to clean and maintain the Property.

    However, trespassers repeatedly vandalized the Property by breaking windows and doors.

    Plaintiff would promptly repair each act of vandalism.

26. In August 2023, Plaintiff entered into a purchase agreement to sell the Property for $200,000.

    However, once the buyer learned of all the Defendants improper demolition actions, the buyer

                                                  5
                                               Complaint
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    withdrew from the agreement in late October 2023, causing Plaintiff over $200,000 in lost

    revenue.

27. Defendant City has unlawfully demolished other properties belonging to Plaintiff through similar

    dubious procedures. All the Defendant have a history of targeting and harassing Plaintiff.

28. In the past, the Defendant City has attempted similar improper demolitions of other properties

    owned by Plaintiff, that mysteriously caught fire and the Defendant city decided to remove all of

    the rubble and claim the land without contacting the owner.

29. The plaintiff is being unfairly and intentionally targeted by the Defendants for demolition of this

    Property.

30. Defendants’ actions have improperly deprived Plaintiff of his substantial investment in and equity

    in the Property without compensation or due process.

31. All the Defendant continues to threaten the Property with baseless demolition.

                                       CAUSES OF ACTION
                                                   (I)
                                  Procedural Due Process Violation
32. Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

33. The Fourteenth Amendment prohibits states from depriving any person of life, liberty, or property

    without due process of law.

34. Plaintiff has a constitutionally protected property interest in his real estate located at 13810

    Fenkell, Detroit, MI.

35. Defendants are required to provide Plaintiff adequate due process before attempting to demolish

    his property.

36. At a minimum, due process requires Defendants to:

      a.       Provide adequate notice detailing the grounds and basis for Defendant Homrich

               demolition;

      b.       Allow Plaintiff a meaningful opportunity to be heard and challenge the demolition order;

      c.       Provide Plaintiff an impartial decision-maker;
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      d.        Allow Plaintiff to present evidence contradicting the demolition and cross examine

                witnesses;

      e.        Articulate written reasons for any adverse actions against Plaintiff.

37. Defendant violated Plaintiff's procedural due process rights by:

      a.        Failing to provide proper notice of the alleged "back fees" grounds for demolition;

      b.        Denying Plaintiff an opportunity to be heard regarding the disputed fees;

      c.        Failing to provide a basis, process, or venue for challenging the demolition;

      d.        Issuing contradictory decisions undeserving of judicial deference.

38. As a direct result of Defendant's violations, Plaintiff suffered damages, including inability to sell

    the Property at fair market value, impairment of Plaintiff's equity and investment value in the

    Property, demolition preparation costs, and severe emotional distress.

39. Plaintiff is entitled to a declaration that Defendant violated his procedural due process rights and

    an injunction barring further unconstitutional action.

                                                    (II)
                                        Unconstitutional Taking
40. Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

41. The Fifth Amendment, applicable to states under the Fourteenth Amendment, prohibits taking of

    private property for public use without just compensation.

42. Defendant's conduct amounts to an unconstitutional regulatory taking of Plaintiff's Property

    without just compensation.

43. Defendants seeks to demolish Plaintiff's Property for the public purpose of removing alleged

    “blight."

44. Defendants arbitrarily and irrationally pursued demolition despite Plaintiff's substantial efforts to

    maintain and improve the Property.

45. Defendant City rejected Plaintiff's good faith efforts to resolve alleged outstanding fees.

46. Defendant City contravened its own assurances that compliance would stop demolition plans.


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47. Defendant City failed to substantiate any rational basis or necessity for destroying Plaintiff's

    Property.

48. Defendants abused its regulatory powers by employing unconstitutional means for inappropriate

    ends.

49. Defendant's actions have already substantially deprived Plaintiff of the economically viable use

    and value of his Property.

50. The character of Defendant's actions excessively burdens Plaintiff compared to any minimal

    public benefit.

51. Justice and fairness require Defendant compensate Plaintiff for the regulatory taking of his

    Property.

52. Defendant has not provided or offered any just compensation for the taking.

53. Defendant's unconstitutional regulatory taking has caused Plaintiff significant financial loss and

    emotional distress.

                                                  (III)
                                         Breach of Contract
54. Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

55. Plaintiff and Defendant entered into a binding oral contract in which Defendant agreed to cease

    its demolition plans if Plaintiff completed certain specified applications and paid assessed fees.

56. The essential terms of the parties’ contract include:

      a.     Plaintiff agreed to complete Defendant City’s Demolition Clearance Form, permit

             applications, and any other required paperwork;

      b.     Plaintiff agreed to pay all blight and permit fees quoted by Defendant City;

      c.     In exchange, Defendant City agreed to stop its demolition plans and remove the Property

             from the demolition list;

      d.     Plaintiff promptly satisfied his obligations under the contract by completing all required

             applications and paying all assessed fees.

57. Plaintiff and Defendants each provided valuable consideration in entering into this contract.
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58. Plaintiff fully performed his contractual obligations, expending substantial time and resources

    complying with Defendant’s demands.

59. Defendant City materially breached the contract by refusing to uphold its end of the bargain after

    Plaintiff satisfied all requirements.

60. Despite Plaintiff’s compliance, Defendant City and Defendant Homrich continued its unlawful

    demolition plans in breach of the parties’ agreement.

61. Defendant City’s breaches have caused Plaintiff substantial harm, including inability to sell the

    Property at fair market value, impairment of Plaintiff’s equity and investment, demolition

    preparation costs, and severe emotional distress.

62. Plaintiff is entitled to damages stemming from Defendant City’s contractual breaches and bad

    faith conduct.

                                                   (IV)
                                            Promissory Estoppel
63. Plaintiff repeats and realleges the foregoing paragraphs as if fully set forth herein.

64. Defendant City made clear and definite promises that it would cease the demolition plans if

    Plaintiff completed certain applications and paid assessed fees.

65. Plaintiff reasonably and foreseeably relied on Defendant's promises by diligently completing all

    required applications and paying all quoted fees, expending considerable time, effort and

    resources.

66. Plaintiff's reliance on Defendant's promises was reasonable and made in good faith. Plaintiff had

    no reason to doubt Defendant City would uphold its end of the bargain if Plaintiff satisfied the

    requirements.

67. Injustice can only be avoided by enforcing Defendant's promises because Plaintiff gave up other

    options he could have pursued absent Defendant's assurances.

68. Specifically, Plaintiff lost the opportunity to:

      a.      Challenge the initial demolition order in court;


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      b.     Seek a second opinion contradicting Defendant's determination the Property was

             blighted;

      c.     Attempt to sell the Property before demolition plans encumbered it;

      d.     Explore relocating his business to mitigate harm from the Property's loss.

69. Defendants reasonably should have expected its representations to induce Plaintiff to act as he

    did.

70. Plaintiff’s reliance on Defendant City’s promises caused him substantial injury, including

    impairment of Plaintiff’s equity and investment value in the Property, demolition preparation

    costs, and severe emotional distress.

71. Equitable estoppel is necessary to avoid injustice to Plaintiff after acting in reasonable reliance

    on Defendant City's false promises to his detriment.

                                                   (V)
                      Intentional/Negligent Infliction of Emotional Distress
72. Plaintiff repeats and alleges the foregoing paragraphs as if fully set forth herein.

73. Defendants engaged in extreme, outrageous, and intolerable conduct by unlawfully and arbitrarily

    pursuing demolition of Plaintiff’s Property.

74. Defendant City failed to provide proper documentation or explanations for the disputed “back

    fees.”

75. Defendant City rejected Plaintiff’s reasonable offer to pay the fees in installments and demanded

    immediate full payment without basis.

76. Defendant City contravened its own representations and procedures regarding halting the

    demolition after Plaintiff's compliance.

77. Defendant City has targeted Plaintiff's properties for similar improper demolitions in the past.

78. Defendant Horwich maliciously erected fencing removed a door, and brought demolition

    equipment on site, causing Plaintiff severe distress.

79. Defendants knew or should have known its actions would cause Plaintiff emotional distress.


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80. Defendants intentionally disregarded that risk and deliberately persisted in extreme and

    outrageous conduct with no legitimate purpose.

81. In the alternative, Defendants acted with reckless disregard to the likelihood its conduct would

    cause Plaintiff severe emotional distress.

82. Defendant's actions exceeded all reasonable bounds of decency tolerated by a civilized

    community.

83. Defendant's outrageous conduct caused Plaintiff severe emotional distress, mental anguish,

    anxiety, sleeplessness, humiliation, and lasting harm.

84. A reasonable person in Plaintiff's position would suffer extreme distress from Defendant's

    egregious actions targeting and threatening Plaintiff's property.

                                                   (VI)
                                              Negligence
85. Plaintiff repeats and realleges the paragraphs above as if fully set forth herein.

86. Defendants owed Plaintiff a duty to act with reasonable care in enforcing city housing and

    construction codes against Plaintiff's Property.

87. Defendants breached its duties by:

      a.   Issuing arbitrary and unreasonable demolition orders without proper inspection, notice, or

           opportunity to repair;

      b.   Failing to maintain proper records of Plaintiff's permit applications, fee payments, and

           compliance efforts;

      c.   Misrepresenting to Plaintiff that complying with certain applications and payments would

           halt demolition;

      d.   Refusing to provide documentation or a rationale for the additional "back fees" claimed

           as due;

      e.   Rejecting Plaintiff's good faith offer to pay the disputed fees in installments;

      f.   Disregarding Plaintiff's substantial investment in the Property and reliance on Defendant's

           representations;
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      g.     Pursuing unlawful demolition plans despite Plaintiff's compliance with all ordered repairs

             and payments.

88. Defendant's breaches directly and proximately caused Plaintiff substantial damages, including

    loss of equity, investment value, sales revenue from a cancelled purchase contract, and demolition

    preparation costs.

89. Defendants knew or should have known its breaches alleged above posed a high risk of harm to

    Plaintiff.

90. Defendant acted recklessly and/or negligently in breaching its duties owed to Plaintiff regarding

    enforcement, notice, demolition procedures, representations, record-keeping, and efforts to

    resolve disputed fees.

                                         REQUEST FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests this Honorable Court enter judgment in favor

of Plaintiff and against Defendant as follows:

           A. Declare that Defendant violated Plaintiff's constitutional right to procedural due process

                 by attempting demolition without proper notice, opportunity to be heard, impartial

                 decision maker, rational basis, or written justification.

           B. Declare that Defendant's conduct constitutes an unconstitutional regulatory taking of

                 Plaintiff's Property without just compensation.

           C. Award Plaintiff damages for Defendant's breaches of contract and conduct inducing

                 reasonable detrimental reliance.

           D. Award Plaintiff damages for the impairment of his investment value and equity interest

                 in the Property resulting from Defendant’s actions.

           E. Award Plaintiff compensation for the loss of sales revenue from the cancelled purchase

                 agreement due to Defendant’s improper demolition plans.

           F. Award Plaintiff damages for the intentional/negligent infliction of emotional distress

                 caused by Defendant’s outrageous conduct.

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         G. Grant injunctive relief barring further unconstitutional demolitions and/or mandating

             that Defendant implement and follow proper notice procedures.

         H. Grant any other relief this Court deems just and equitable under the circumstances.

Plaintiff reserves the right to amend his complaint.

Date: November 20, 2023




                                                                   Respectfully Submitted,
                                                                   /S/ Derak T. Carrington____
                                                                   Derek Terrall Carrington
                                                                   Plaintiff, Pro Se




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